              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE EIGHTH CIRCUIT

                              Case No. 22-1947

                      UNITED STATES OF AMERICA

                                                 Plaintiff-Appellee,
                                      vs.

                                TITUS MILLER

                                                 Defendant-Appellant

                            BRIEF OF APPELLEE


        APPEAL FROM THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEBRASKA

   The Honorable Richard G. Kopf, Senior United States District Court Judge

UNITED STATES OF AMERICA
Plaintiff-Appellee

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    SUMMARY AND STATEMENT REGARDING ORAL ARGUMENT

      Appellant, Titus Miller, hereinafter “Miller,” was convicted of five counts of

production of child pornography. He was sentenced to five consecutive 20-year

prison terms followed by a lifetime of supervised release. Miller was also ordered

to pay an assessment of $50,000 pursuant to the Amy, Vicki, and Andy Child

Pornography Victim Restitution Act of 2018, Title 18, United States Code, Section

§ 2259A, hereinafter “AVAA”.

      Miller appealed the length of the term of imprisonment and the $50,000

assessment under the AVAA. This Court affirmed the term of imprisonment but

remanded the matter for the district court to specify whether the $50,000 was to be

awarded to the Child Pornography Victims Reserve Fund pursuant to 18 U.S.C.

§ 2259A or a portion awarded as restitution to victims of Miller’s criminal acts

under 18 U.S.C. § 2259. On remand, the district court properly assessed the

$50,000 to the Child Pornography Victims Reserve Fund pursuant to 18 U.S.C. §

2259A.

      Miller has waived oral argument to this Court. The United States concurs

that oral argument is not necessary to address the issues submitted in this case. If

this Court believes oral argument is necessary, the United States recommends 10

minutes of oral argument.




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                      JURISDICTIONAL STATEMENT

      Miller filed his second notice of appeal on May 3, 2022, from the amended

judgment and sentence imposed by the Honorable Richard G. Kopf, Senior United

States District Judge on April 26, 2022. The case below was filed at 4:19CR3126.

      Federal jurisdiction over the subject matter of the case exists pursuant to 18

U.S.C. §§ 2251(a) and 2251(e).

      This Court has jurisdiction over Miller’s appeal pursuant to 28 U.S.C. §

1291 providing jurisdiction over an appeal from a final order and pursuant to 18

U.S.C. § 3742 providing for review of a federal sentence.




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                    STATEMENT OF THE ISSUES


I.    Whether on remand the district court properly ordered Miller to pay a
      $50,000 assessment pursuant to Title 18, United States Code, Section
      2250A.

      Bethea v. Levi Strauss & Co., 916 F.2d 453, 456 (8th Cir. 1990)
      United States v. Behler, 187 F.3d 772, 776 (8th Cir. 1999)
      United States v. Madrid, 978 F.3d 201, 206 (5th Cir. 2020)
      United States v. Marquez, 941 F. 2d 60 (2d Cir. 1991)




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                         STATEMENT OF THE CASE


      Titus Miller, hereinafter “Miller,” was indicted by the grand jury for the

District of Nebraska in a seven-count indictment charging five counts of

production of child pornography, in violation of Title 18 United States Code,

Section 2251(a), and two counts of distribution of child pornography, in violation

of Title 18 United States Code, Section 2252A(a)(2). (R. Doc. 13). The charges

stem from an investigation that began following the execution of a search warrant

in Alabama. The target of the Alabama investigation admitted he had been

exchanging images and videos of child pornography with an individual, later

identified as Miller, via Telegram, an Internet-based messaging application.

(Presentence Investigation Report, hereinafter: PSR, p.7).

      A review of the Alabama target’s Telegram account revealed that on

October 15, 2019, Miller distributed a video of Miller engaging in sexually explicit

conduct with a minor male victim less than 10-years-old. That video was later

recovered from Miller’s phone during the execution of a search warrant at Miller’s

residence on October 22, 2019. (PSR, p.7). FBI agents covertly assumed the

identity of the Alabama subject and communicated directly with Miller via text

messaging. On October 22, 2019, Miller sent the undercover FBI agent four

additional videos depicting prepubescent males engaging in sexually explicit


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conduct. These videos were also recovered from Miller’s phone by law

enforcement during the search of Miller’s residence. (PSR, p.7).

      The nature of the crimes charged against Miller can only be described as

horrific. Miller worked as a night shift supervisor at Playful Painters Daycare in

Lincoln, Nebraska. He produced videos at the day care while he had custody, care,

and supervisory control over the minor victims. Miller would move the minors to

an area hidden from the daycare’s security cameras. Miller would then video

graphic sexual activity between him and the respective minor victim, including

actual and simulated oral and anal penetration, masturbation, and lascivious

exhibition of the genital area. In all, 17 videos were recovered depicting five

minor victims. (PSR, p.8, Attachment A). The videos were produced using a

Samsung Smart phone and SanDisk media storage card. The age of the victims

ranged from four to six years old. (PSR, p. 7-8). The presentence report also

contained excerpts from chat logs between Miller and the Alabama subject

discussing the sexual assault of prepubescent minors by Miller. (PSR, p.10,

Attachment B).

      In addition to the production of the videos referenced in counts one through

five, forensic analysis of the telephone and computer equipment seized at Miller’s

residence revealed an additional 2932 graphic image files and 566 video files




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containing child pornography. These included depictions of prepubescent minors

engaging in sexually explicit conduct as defined by federal law. (PSR, p.8).

      On July 15, 2020, Miller appeared before the magistrate judge and entered a

plea of guilty to counts one through five of the indictment, each count charging

production of child pornography. The parties presented a plea agreement to the

court which outlined the agreement between the United States and Miller. (R. Doc.

46). The plea agreement set forth the penalties which could be imposed against

Miller, on each count, including a maximum 30 years imprisonment, pursuant to

Title 18, United States Code, § 2251, and a maximum special assessment of

$50,000, pursuant to the Amy, Vicky and Andy Child Pornography Victim

Assistance Act of 2018, codified in Title 18, United States Code, § 2259A

(AVAA). (R. Doc. 46, p. 4 – 6).

      Miller was sentenced on October 15, 2020. The district court initially asked

the government to explain the contents of the plea agreement. (Sentencing

Transcript (Sent. TR.), p. 2-3). The district court noted the plea agreement did not

contain an agreement as to the length of imprisonment, the period of supervised

release, or assessments which may be imposed on Miller. (Sent. TR., p. 3).

Defense counsel was asked whether the government’s summary of the plea

agreement was correct and answered that it was. (Sent. TR., p. 3).




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      After citing the maximum term of imprisonment, the district court next dealt

with the issue of assessments to be imposed against Miller. The district court noted

the “AVAA assessment is mandatory. The JVTA assessment may be waived if the

defendant is indigent.” (Sent. TR., p. 7). The district court then asked counsel,

“have I accurately stated the correct statutory guideline range – – statutory range –

– guideline range and assessment provisions for this case?” (Sent. TR., p. 7).

Counsel for the government and Miller agreed that the district court accurately

stated the provisions. (Sent. TR., p. 7).

      The district court engaged in a lengthy colloquy with government and

defense counsel during allocution regarding the length of the sentence that should

be imposed upon Miller. The district court questioned both attorneys about the

reasonableness of a lengthy sentence. After counsel presented their arguments,

Miller was given the chance to speak. (Sent. TR., p. 33-34). After Miller provided

a statement to the court, the district court imposed the following sentence:

             THE COURT:          To reflect the seriousness of the offense, to
      promote respect for the law, to provide for just punishment, to afford
      deterrence, to protect the public against further offenses of the offender and
      more generally to satisfy the statutory goals of sentence – – sentencing, I
      now impose the following sentence:
             For each count, Counts I through V, I impose a sentence of 240
      months to run consecutively. I impose a lifetime of supervision. I do not
      impose a fine because the defendant couldn’t pay one. I do require that he
      pay the $500 mandatory special assessment.
             I waive the JVTA assessment because it cannot – – because the
      defendant couldn’t possibly pay it and will never be able to pay it.

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            I do impose the AVAA assessment in the total sum of $50,000 to be
      divided equally among the victims of the five counts of conviction.


(Sent. TR., p. 34).

      Miller questioned the $50,000 assessment pursuant to the AVAA. (R. Doc.

36). Miller argued the AVAA assessment should not be imposed because since

Miller was found indigent under the JVTA assessment by the district court. The

district court stated indicated that it found the AVAA assessment to be mandatory,

although acknowledging it could have imposed an assessment lower than $50,000.

(Sent. TR., p. 36-37). Miller asked for no further elaboration of the district court’s

reasoning on this issue. (Sent. TR., p. 37). The judgment and commitment order

correctly details the sentence imposed by the district court. (R. Doc. 61). Miller

filed his notice of appeal on October 28, 2020. (R. Doc. 68).

      On Miller’s first appeal, this Court found the appeal waiver contained in the

plea agreement “was valid and precludes Miller’s appeal of his term of

imprisonment.” United States v. Miller, 23 F.4th 817, 819 (8th Cir. 2022).

However, this Court stated, “[b]ecause there was and continues to be confusion

about the $50,000 assessment, this court reverses and remands for clarification.”

Id. This Court was clear in its request to the district court. “This court reverses

and remands to the district court to enter an amended judgment specifying whether

all $50,000 shall be awarded as an assessment to the Child Pornography Victims

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Reserve, or whether some part shall be awarded as an assessment to the Reserve

and some shall be awarded as restitution under 18 U.S.C. § 2259 to the victims.”

United States v. Miller, 23 F.4th 817, 820 (8th Cir. 2022).

      On April 26, 2022, the district court resentenced Miller. Miller again

objected to the assessment. The district court overruled the objection in imposing

sentence. The district court found “in response to the partial remand order, under

the Criminal Monetary Penalties, I’ve changed the judgement. The material

changes are that the assessment remains the same at – at $500, no restitution, no

fine, no – JVTA assessment waived due to indigent, … and I assess a[n] AVAA

assessment of $50,000 to be paid by the defendant, and I so order.” (Resentencing

Transcript (R. Sent. TR.), p. 6). The district court filed an Amended Judgement

reflecting the $50,000 assessment under the AVAA. (R. Doc. 88). The district

court did not order specific restitution to the victims. Miller filed his notice of

appeal on May 3, 2022. (R. Doc. 90).

                       SUMMARY OF THE ARGUMENT

      Miller’s argument on his second appeal is meritless. This Court provided

the district court with a clear directive on resentencing; specify whether the

$50,000 should be awarded under the AVAA or split between the AVAA and

specific restitution for the victims. The district court, pursuant to the remand of

this Court, specified that the $50,000 was assessed under the AVAA. The district

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court provided a clear reason for the assessment and considered proper sentencing

factors in imposing the assessment. The district court correctly considered §

3553(a) factors in imposing an AVAA assessment in this case. The district court’s

amended judgment on remand should be affirmed by this Court.

                                    ARGUMENT

I.      On remand, the district court properly ordered Miller to pay a $50,000
        assessment pursuant to Title 18 U.S.C. Section 2250A (AVAA).

        A.    Standard of Review

        “On remand, a district court is bound to obey strictly an appellate mandate.”

Bethea v. Levi Strauss & Co., 916 F.2d 453, 456 (8th Cir. 1990), (citing In re

Sanford Fork & Tool Co., 160 U.S. 247, 255 (1895)). “If the district court fails to

comply with an appellate mandate, the appellate court has authority to review the

district court’s actions and order it to comply with the original mandate.” Id. “The

resentencing court may not disregard the scope of any limitations imposed by the

appellate court.” United States v. Behler, 187 F.3d 772, 776 (8th Cir. 1999). “If

there are no explicit or implicit instructions to hold further proceedings, a district

court has no authority to re-examine an issue settled by a higher court.” Bethea v.

Levi Strauss & Co., 916 F.2d at 456. “On remand, however, [‘]all issues decided

by the appellate court become the law of the case,[‘][citation omitted], and the

sentencing court is bound to proceed within the scope of [‘]any limitations


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imposed on its function at resentencing by the appellate court.[‘]” United States v.

Behler, 100 F.3d 632, 635 (8th Cir. 1996).

      “In reviewing a sentence for significant procedural error, we review a

district court’s factual findings for clear error and its interpretation and application

of the [G]uidelines de novo.” United States v. Smith, 983 F.3d 1006, 1008 (8th Cir.

2020). “‘Procedural error’ includes ‘failing to calculate (or improperly calculating)

the guidelines range, treating the Guidelines as mandatory, failing to consider the

§3553(a) factors, selecting a sentence based on clearly erroneous facts, or failing to

adequately explain the chosen sentence – including an explanation for any

deviation from the Guidelines range.’” Id., quoting United States v. Feemster, 572

F.3d 455, 461 (8th Cir. 2009). “[If] we find that significant procedural error

occurred, we must reverse unless the error was harmless.” Id., quoting United

States v. Moody, 930 F.3d 991, 993 (8th Cir. 2019).

      B.     Argument

      Miller argues the district court committed procedural error at the

resentencing when it imposed a $50,000 special assessment pursuant to the AVAA

in the amended judgment. Miller further argues the district court did not follow the

mandate of this Court or the language of § 2259A in ordering the assessment as

part of his sentence. Miller’s arguments are without merit and should be rejected

by this Court.

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      The mandate issued by this Court was clear. “This court reverses and

remands to the district court to enter an amended judgment specifying whether all

$50,000 shall be awarded as an assessment to the Child Pornography Victims

Reserve, or whether some part shall be awarded as an assessment to the Reserve

and some shall be awarded as restitution under 18 U.S.C. § 2259 to the victims.”

United States v. Miller, 23 F.4th 817 at 820.

       Miller argues the district court did not “clarify” but instead changed his

sentence. Miller’s recitation of the remand of this Court is simply incorrect.

Miller argues the mandate only allowed the district court to “specify whether the

$25,000 portion the court said was an assessment payable to victims was intended

as restitution or an assessment.” (Appellant’s Brief at p. 10). That is simply not the

mandate from this Court. The district court had imposed a $50,000 assessment

under the AVAA at the initial sentencing. This Court recognized that the district

court’s phrasing of how the assessment could be obtained by the victims created

confusion in the Judgment. This Court asked the district court to specify whether

the entire $50,000 was to be an assessment under the AVAA or awarded in part as

restitution pursuant to 18 U.S.C. § 2259. At resentencing, the district court did

precisely what this Court mandated. The district court entered an amended

judgment imposing a $50,000 assessment under the AVAA. The district court did




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not exceed the scope of the mandate and appropriately complied with the order of

this Court. The amended judgment should be affirmed.

      Miller further argues that statements made prior to the resentencing show the

district court intended for victims to receive payments. This argument has no

relevance to the district court's resentencing order and is equally without merit.

This Court acknowledged the district court’s language as to how victims could

obtain recovery for any losses was confusing. The Judgment of the district court

could be read as either a statement of restitution or an assessment under the

AVAA. Thus, the confusion rested on how the district court viewed the $50,000.

Was it an assessment under the AVAA or a partial restitution award to the victims?

That was the clarification which this Court requested from the district court. At

resentencing, the district court acknowledged the confusion in the earlier

statements by stating, “I assess a[n] AVAA assessment of $50,000 to be paid by

the defendant.” (R. Sent. TR., p. 6). The question posed by this Court on remand

was answered. The amended judgment should be affirmed.

      Miller also argues the district court did not comply with the requirements of

the AVAA in ordering a $50,000 assessment in the amended judgment.

Essentially, Miller regurgitates the arguments he presented to this Court in his

original appeal. This Court rejected his arguments at that time. Miller’s arguments




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fall outside of the mandate given by this Court in the remand order. The amended

judgement should be affirmed.

      Miller continues to mischaracterize the district court’s sentence in arguing

the district court failed to provide a reason for “doubling the assessment on

remand.” This Court’s remand was to clarify the confusion from the district court’s

language when it imposed a $50,000 assessment under the AVAA. There is no

doubling of the assessment amount on remand. The assessment amount was the

same as the district court imposed at the initial sentencing. The only issue subject

to the mandate was whether the district court awarded the entire $50,000 as an

assessment to the Child Pornography Victims Fund or only a portion. The district

court clarified this by plainly assessing the entire $50,000 pursuant to the AVAA

and not as restitution under § 2259. Miller’s attempt to rewrite the mandate should

be rejected.

      Miller argues, contrary to the statute, that the assessment pursuant to the

AVAA is not mandatory. This is incorrect. § 2259A states in pertinent part, “[i]n

addition to any other criminal penalty, restitution, or special assessment authorized

by law, the court shall assess – – … not more than $50,000 on any person

convicted of a child pornography production offense.” Title 18, U.S.C. § 2259A.

(Emphasis added). The use of the term “shall assess” “normally creates an

obligation impervious to judicial discretion.” Lexecon Inc. v. Milberg, Wiess,

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Bershad, Hynes & Lerach, 118 Sup. Ct., 956, 962 (1998). “The special assessment

at issue in this appeal is required by 18 U.S.C. § 2259A …” United States v.

Madrid, 978 F.3d 201, 206 (5th Cir. 2020). Miller’s argument is incorrect.

      During the sentencing hearing, the district court stated, “because this is a

production crime, I may impose an assessment of not more than $50,000 and I

under – – – well, I need the assistance of counsel the maximum I can impose is 50

– – $50,000 for all the counts. Do you agree.” (Sent. TR., p. 8). Initially, the United

States indicated the assessment was per count and not per individual. (Sent. TR., p.

8). Defense counsel stated the sentencing recommendation of the probation office

was correct, and the assessment was not more than $50,000 per person convicted

of a production offense. (Sent. TR., p. 8). The United States agreed with defense

counsel, stating, “I think [defense counsel’] correct, Your Honor. We just checked

the statute, and it is $50,000 for the person.” (Sent. TR., p. 8 – 9). The district court

then noted, “which means the maximum is $50,000. Okay.” (Sent. TR., p. 9). The

district court was not confused about the mandatory nature of the AVAA or the

maximum that could have been assessed.

      The district court also made clear it understood it could have imposed a

reduced AVAA assessment against Miller. The district court noted, “I could have

imposed a lesser sentence, but I chose not to – – a lesser assessment, rather.”

(Sent. TR., p. 37).

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      Miller argues the district court committed procedural error in stating the

AVAA assessment was to be divided equally among the specific victims of the

counts of conviction. As the district court noted in its memorandum and order of

November 2, 2020, “I imposed the $50,000 AVAA (18 U.S.C. § 2259A)

assessment intentionally (a) to provide each of the 5 children with $5000 each (to

the extent possible) and (b) the balance to be paid into the fund for the benefit of

other children.” (R. Doc. 70, p. 1). The use of the term “to the extent possible”

referenced the fact that the victim families would have to go through the procedure

set forth in the AVAA, including the Child Pornography Victim Reserve, to obtain

monetary assistance from the Reserve. See, Title 18, United States Code, §

2259(d). The district court’s language was not legally incorrect. “A monetary

penalty under the AVAA is separate and distinct from restitution, and a special

assessment under 18 U.S.C. § 2259 does not require identification of a victim or

proof of losses.” Madrid, 978 F.2d at 205.

      This was precisely the confusion this Court wanted the district court to

address. The district court did so in stating the $50,000 was only being assessed

under the AVAA. (R. Doc. 88, p. 6). The district court applied the proper

assessment. That assessment was not above the maximum statutory limit. The

district court’s amended judgement was legally accurate and should be affirmed.




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      Miller further argues the district court committed procedural error in failing

to reduce the AVAA assessment due to his inability to pay. Miller argues the

district court should have applied the same reasoning in ordering the AVAA

assessment which it used in denying an assessment under Title 18, U.S.C. § 3014,

known as the Justice for Victims of Trafficking Act of 2015 (JVTA). Miller’s

arguments are misplaced and should be rejected by this Court.

      The United States notes initially that this argument exceeds the mandate

issued by this Court. This Court did not ask the district court to reanalyze how it

came to the determination of a $50,000 assessment in this case. The mandate

required the district court to clarify how the $50,000 was to be assessed; under the

AVAA, or a portion under § 2259. Miller wants to relitigate whether the Court

should have imposed an assessment under § 2259A. Such an argument exceeds

the scope of the mandate and should be rejected.

      Even if this Court reviews the district court’s determination apart from the

remand order, the $50,000 assessment under the AVAA is appropriate. Miller’s

argument that Miller’s ability to pay be given greater weight by the district court is

incorrect. § 2259A(c) states, “[i]n determining the amount of the assessment under

subsection (a), the court shall consider the factors set forth in sections 3553 (a) and

3572.” Miller concentrates his argument on section 3572. However, there is no

evidence in the record that the district court failed to consider Miller’s financial

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circumstances in ordering the AVAA assessment. The district court examined

Miller’s financial condition in refusing to impose a fine or an assessment under the

JVTA. The JVTA specifically states, “the court shall assess an amount of $5000

on any non—indigent person or entity convicted of an offense …” 18 U.S.C. §

3014(a). The AVAA has no specific non-indigency requirement. § 2259A (c) does

not mandate that the district court consider only defendant’s financial condition

and ability to pay. § 2259A(c) “requires the court only to “consider” these factors,

and imposes no separate requirement that this consideration be articulated.” United

States v. Marquez, 941 F. 2d 60, 65 (2d Cir. 1991). Miller’s assertion that the

district court failed to consider the factors set forth in § 2259A(c) is both factually

and legally inaccurate. The district court’s assessment pursuant to the AVAA

should be affirmed.

       It is also clear the district court addressed the assessment in its relation to

the § 3553(a) factors. The district court noted both the original sentence and the

amended judgement, including the AVAA assessment, was imposed, “[t]o reflect

the seriousness of the offense, to promote respect for the law, to provide for just

punishment, to afford deterrence, to protect the public against further defenses of

the offender and were generally to satisfy the statutory goals of sentencing. . .”

(Sent. TR., p. 34). In addressing an argument made by Miller in the original

sentencing, the district court noted the assessment was chosen “not so much for

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this defendant but for other defendants in similar such circumstances who are

involved in childcare cases.” (Sent. TR., p. 37). Such a statement refers to the need

to “afford adequate deterrence to criminal conduct …” Title 18, U.S.C. §

3553(a)(2)(B). The district court may consider under the AVAA other sentencing

factors described in § 3553, including the nature and circumstances of Miller’s

criminal actions, and general and specific deterrence. Here, it is apparent the

district court imposed a monetary penalty to punish Miller and hopefully allow the

victims to claim monetary assistance from the Reserve Fund. The assessment

imposed on remand was within the statutory maximum. The assessment imposed

by the district court on remand should be affirmed.




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                                 CONCLUSION

      For the reasons stated herein, United States respectfully request this Court to

affirm the sentence imposed on remand by the district court against Miller.


                                        Respectfully submitted,

                                        UNITED STATES OF AMERICA

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                 CERTIFICATE OF FILING AND SERVICE

       I hereby certify that on August 2, 2022, the foregoing was electronically
filed with the Clerk of the Court for the Eighth Circuit Court of Appeals using the
CM/ECF system. A paper copy will be served on participants in this case by U.S.
Mail, postage prepaid, within five days of the Court’s notice that the brief has been
reviewed and filed.

     I hereby certify that a copy of the Government’s brief was mailed on
______________________, 2022, to:

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                                       s/ Steven A. Russell
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                      CERTIFICATION OF VIRUS SCAN

       Pursuant to Rule 28A(h)(2) of the Eighth Circuit Rules of Appellate
Procedure, I hereby certify the full text of the Appellee’s Brief has been scanned
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                                          s/ Steven A. Russell
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                    CERTIFICATION OF COMPLIANCE

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